          Case 12-12852 Doc 21 Filed 02/25/13 Entered 02/25/13 15:16:46 Main Document Page 1 of 8
 B6F (Official Form 6F) (12/07)


          }
          n
          b
          s
          k
          e
          1
          c
          {
          u
          S
          r
          h
          d
          N
          o
          l
          p
          F
          i
          -
          C
          t
          y
          a
          m
          H
          g
          U




  In re         Diane Lampkin Calvin                                                                                     Case No.         12-12852
                                                                                                               ,
                                                                                             Debtor


                                         AMENDED
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                     C    Husband, Wife, Joint, or Community                                C   U   D
                  CREDITOR'S NAME,                                   O                                                                      O   N   I
                  MAILING ADDRESS                                    D    H                                                                 N   L   S
                INCLUDING ZIP CODE,                                  E                DATE CLAIM WAS INCURRED AND                           T   I   P
                                                                          W
               AND ACCOUNT NUMBER
                                                                     B              CONSIDERATION FOR CLAIM. IF CLAIM                       I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                     T    J                                                                 N   U   T
                                                                     O                IS SUBJECT TO SETOFF, SO STATE.                       G   I   E
                 (See instructions above.)                           R
                                                                          C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No.                                                                                                                                 T   T
                                                                                                                                                E
                                                                                                                                                D

American Thrift and Finance Plan
116 Terry Parkway Ste. G                                                  -
Terrytown, LA 70056-2578

                                                                                                                                                                      Unknown
Account No. xx0508

ASI
1554 Westbank Expressway                                                  -
Westwego, LA 70094

                                                                                                                                                                         352.00
Account No.

Atmos Energy
4101 Mcewen Rd                                                            -
Suite 150
Dallas, TX 75244
                                                                                                                                                                           82.00
Account No. xxxxxxxx7563

Bellsouth
PO Box 64378                                                              -
Saint Paul, MN 55164

                                                                                                                                                                         223.00

                                                                                                                                        Subtotal
 5
_____ continuation sheets attached                                                                                                                                       657.00
                                                                                                                              (Total of this page)




 Software Copyright (c) 1996-2013 - CCH INCORPORATED - www.bestcase.com                                                                   S/N:45832-130208   Best Case Bankruptcy
          Case 12-12852 Doc 21 Filed 02/25/13 Entered 02/25/13 15:16:46 Main Document Page 2 of 8
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Diane Lampkin Calvin                                                                               Case No.     12-12852
                                                                                                               ,
                                                                                             Debtor

                                         AMENDED
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)


                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                                                                           E
                                                                                                                                      D

Check Into Cash
2630 Manhattan Blvd                                                       -
Harvey, LA 70059

                                                                                                                                                            240.00
Account No.

Cox
PO Box 9001080                                                            -
Louisville, KY 40290-1080

                                                                                                                                                            960.00
Account No. xxxxx0397

Direct TV
P.O. Box 6550                                                             -
Greenwood Village, CO 80155-6550

                                                                                                                                                            608.00
Account No.

Dish Network
9601 South Meridian Blvd                                                  -
Englewood, CO 80112

                                                                                                                                                            216.00
Account No.

Easy Money EMG
299 Westbank Expressway                                                   -
Gretna, LA 70053

                                                                                                                                                                0.00

           1
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                          2,024.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




 Software Copyright (c) 1996-2013 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
          Case 12-12852 Doc 21 Filed 02/25/13 Entered 02/25/13 15:16:46 Main Document Page 3 of 8
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Diane Lampkin Calvin                                                                               Case No.     12-12852
                                                                                                               ,
                                                                                             Debtor

                                         AMENDED
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)


                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxx1707                                                                                                              E
                                                                                                                                      D

First Premier Bank
601 S. Minnesota Ave.                                                     -
Sioux Falls, SD 57104

                                                                                                                                                            437.00
Account No. xxxxxxx5184

Home Finance
2600 Barataria Blvd.                                                      -
Suite B
Marrero, LA 70072
                                                                                                                                                          2,259.00
Account No. xx2985

HSBC Card
8875 Aero Drive                                                           -
Ste 200
San Diego, CA 92123
                                                                                                                                                            969.00
Account No. xx2986

Midland Credit Management
8875 Aero Drive                                                           -
Ste 200
San Diego, CA 92123
                                                                                                                                                            771.00
Account No.

Money Mart
2010 Woodmere Blvd                                                        -
Ste L
Harvey, LA 70058
                                                                                                                                                            245.00

           2
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                          4,681.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




 Software Copyright (c) 1996-2013 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
          Case 12-12852 Doc 21 Filed 02/25/13 Entered 02/25/13 15:16:46 Main Document Page 4 of 8
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Diane Lampkin Calvin                                                                               Case No.     12-12852
                                                                                                               ,
                                                                                             Debtor

                                         AMENDED
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)


                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxx0004                                                                                                                 E
                                                                                                                                      D

Republic Finance
1818 Manhattan Blvd                                                       -
Ste 3
Harvey, LA 70058
                                                                                                                                                          1,017.00
Account No. xxxx0374, xxxx1023, xxxx6611

Second Parish Court - Traffic
100 Huey P. Long Avenue                                                   -
P.O. Box 10
Gretna, LA 70054
                                                                                                                                                            836.75
Account No. xxxxx1319

Seventh Avenue
1112 7th Ave.                                                             -
Monroe, WI 53566

                                                                                                                                                            292.00
Account No. xxxxxxx4206

Social Security Administration
Mid-America Program Service Center                                        -
601 East Twelfth Street
Kansas City, MO 64106-2817
                                                                                                                                                        11,525.37
Account No. xxxx2983

Sprint
8014 Bayberry Rd                                                          -
Jacksonville, FL 32256

                                                                                                                                                          1,088.00

           3
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                        14,759.12
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




 Software Copyright (c) 1996-2013 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
          Case 12-12852 Doc 21 Filed 02/25/13 Entered 02/25/13 15:16:46 Main Document Page 5 of 8
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Diane Lampkin Calvin                                                                               Case No.     12-12852
                                                                                                               ,
                                                                                             Debtor

                                         AMENDED
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)


                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xx6347                                                                                                                    E
                                                                                                                                      D

Sprint Communications
Bankruptcy Dept.                                                          -
P.O. Box 7949
Overland Park, KS 66207
                                                                                                                                                            530.00
Account No. xxx1582

T-Mobile
PO Box 37380                                                              -
Albuquerque, NM 87176-7380

                                                                                                                                                          1,926.00
Account No. xxxxxx2570

Verizon Wireless
P.O. Box 26055                                                            -
Minneapolis, MN 55426

                                                                                                                                                            363.00
Account No. xxxx9022

West Jefferson Medical Center
3228 6th Street                                                           -
Metairie, LA 70002

                                                                                                                                                            135.00
Account No. xxx5978

West Jefferson Medical Center
3228 6th Street                                                           -
Metairie, LA 70002

                                                                                                                                                            383.00

           4
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                          3,337.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




 Software Copyright (c) 1996-2013 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
          Case 12-12852 Doc 21 Filed 02/25/13 Entered 02/25/13 15:16:46 Main Document Page 6 of 8
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Diane Lampkin Calvin                                                                                     Case No.      12-12852
                                                                                                                ,
                                                                                             Debtor

                                         AMENDED
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)


                                                                     C    Husband, Wife, Joint, or Community                             C   U   D
                  CREDITOR'S NAME,                                   O                                                                   O   N   I
                  MAILING ADDRESS                                    D    H                                                              N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                     B                                                                   I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                 (See instructions above.)                           R                                                                   E   D   D
                                                                                                                                         N   A
                                                                                                                                         T   T
Account No.                                                                                                                                  E
                                                                                                                                             D

Whitney Bank
Recovery Department                                                       -
P.O. Box 4019
Gulfport, MS 39502-4019
                                                                                                                                                                   433.85
Account No.




Account No.




Account No.




Account No.




           5
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                                Subtotal
                                                                                                                                                                   433.85
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)
                                                                                                                                         Total
                                                                                                               (Report on Summary of Schedules)                25,891.97


 Software Copyright (c) 1996-2013 - CCH INCORPORATED - www.bestcase.com                                                                                Best Case Bankruptcy
     Case 12-12852 Doc 21 Filed 02/25/13 Entered 02/25/13 15:16:46 Main Document Page 7 of 8




                                                          United States Bankruptcy Court
                                                                 Eastern District of Louisiana
 In re     Diane Lampkin Calvin                                                                           Case No.   12-12852
                                                                                   Debtor(s)              Chapter    7




                                                   AMENDED
                                   DECLARATION CONCERNING DEBTOR'S SCHEDULES

                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing document(s), consisting of        8      page(s),
           and that they are true and correct to the best of my knowledge, information, and belief.




Date February 25, 2013                                                 Signature   /s/ Diane Lampkin Calvin
                                                                                   Diane Lampkin Calvin
                                                                                   Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




Software Copyright (c) 1996-2013 CCH INCORPORATED - www.bestcase.com                                                                Best Case Bankruptcy
     Case 12-12852 Doc 21 Filed 02/25/13 Entered 02/25/13 15:16:46 Main Document Page 8 of 8


                                                          United States Bankruptcy Court
                                                                 Eastern District of Louisiana
 In re     Diane Lampkin Calvin                                                                        Case No.    12-12852
                                                                              Debtor(s)                Chapter     7


                                           MOTION TO AMEND BANKRUPTCY PETITION
1.         Debtor(s), Diane Lampkin Calvin         , commenced this case on September 26, 2012                       by filing a voluntary
           petition for relief under Chapter 7 of Title 11 of the United States Bankruptcy Code.

2.         On or about 2/7/2013              debtor(s) discovered that the following information had been inadvertently
           omitted from his/her/their Petition:

Schedule(s) Affected:                                                          Change(s):
 Schedule F                                                                     Added Creditors




WHEREFORE, Debtor(s) pray for an Order to Amend his/her/their Bankruptcy Petition to reflect the above-mentioned
changes and for such additional or alternative relief as may be just and proper.

Dated: February 25, 2013                                                            /s/ Diane Lampkin Calvin
                                                                                    Diane Lampkin Calvin
                                                                                    Debtor



                                                                          ORDER
The motion of the above-named debtor(s),                        Diane Lampkin Calvin      , to amend his/her/their Bankruptcy Petition is
sustained.

It is hereby ORDERED and DECREED that the Debtor's(s') Bankruptcy Petition is amended to reflect the following
changes:

Amendment(s) to Petition:
  To add debts owed to Social Security Administration and Whitney Bank




Dated:
                                                                                    U.S. BANKRUPTCY JUDGE




Software Copyright (c) 1996-2013 CCH INCORPORATED - www.bestcase.com                                                          Best Case Bankruptcy
